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                     United States Court of Appeals
                                     For the First Circuit
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      No. 14-1134
                                           JOHN M. MILLAY,

                                               Plaintiff, Appellee,

                                                        v.

                MAINE DEPARTMENT OF LABOR, BUREAU OF REHABILITATION,
                    DIVISION FOR THE BLIND AND VISUALLY IMPAIRED,

                                          Defendant, Appellant.
                                          __________________

                                              JUDGMENT

                                             August 11, 2014

              This cause came on to be heard on appeal from the United States District Court for the
      District of Maine and was argued by counsel.

             Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
      decision of the district court is affirmed.

                                                         By the Court:

                                                         /s/ Margaret Carter, Clerk




      cc: Mr. Baber, Ms. Herman, Ms. Macirowski & Mr. Stern.
